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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI

UNITED STATES OF AMERICA

VS.                                                                  NO.: 3:21-CR-107-NBB-RP

JAMARR SMITH, et al.


                 DEFENDANT, JAMARR SMITH’S, APPLICATION FOR
                     ISSUANCE OF SUBPOENA DUCES TECUM

       COMES NOW, the Defendant, Jamarr Smith, by and through the undersigned counsel,

and pursuant to F.R.C.P. 17(b) and 17(c), and respectfully moves the Court for an order directing

the clerk’s office to issue a subpoena duces tecum for:

       Google
       c/o Corporation Service Company
       109 Executive Drive; Ste. 3
       Madison, MS 39110

to produce the requested documents in the Subpoena Duces Tecum attached hereto as Exhibit

“A” to Hickman, Goza & Spragins, PLLC, P.O. Box 668 / 1305 Madison Avenue, Oxford,

Mississippi, 38655 on or before May 22, 2022 at 12:00 p.m.

       In support of this application, Jamarr Smith sets forth that Google and/or its agent, is in

possession of documents necessary for determining how he should proceed in this case.

       Pursuant to the requirements of Federal Rule of Criminal Procedure 17, in support of this

application, the defendant sets forth that the records are needed to aid Jamarr Smith for

investigative purposes in preparation for pretrial motions and trial. The defendant represents that

the requested documents are evidentiary and relevant, that they are not otherwise procurable

reasonably in advance of the trial by exercise of due diligence; that the defendant cannot

properly defend himself in this action without such production and inspection in advance of the
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trial and the failure to obtain advance inspection of these records may tend unreasonably to delay

the proceedings; and, that the request for these records is made in good faith and is not intended

as a general fishing expedition. See United States v. Nixon, 418 U.S. 683, 699-700 (1974).

       The defendant further represents that his request is relevant and the documents requested

are both admissible and specific in nature. These documents are admissible under Fed. R. Evid.

Rule 803(6) and 902(11) in that they are records kept in the ordinary course of business. The

request is specific in nature in that it requests records for specific info1mation during a specific

time frame.

       The defendant represents that he is in the same financial condition as when counsel was

appointed to represent him in this matter, and he remains unable to pay any fees related to the

production of the documents, and that the production of the requested documents is necessary to

his defense.

       WHEREFORE, the defendant requests that this Court order Google and/or its agent, to

produce the requested records to Hickman, Goza & Spragins, PLLC, P.O. Box 668 / 1305

Madison Avenue, Oxford, Mississippi, 38655 on or before May 22, 2022 at 12:00 p.m., and for

the defendant be allowed to use the documents for use in his case in chief.

       DATED: May 3, 2022.
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                                RESPECTFULLY SUBMITTED,

                                JAMARR SMITH

                                HICKMAN, GOZA & SPRAGINS, PLLC
                                Attorneys at Law
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                            BY: /s/ Goodloe T. Lewis               _
                               GOODLOE T. LEWIS, MSB # 9889
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                                 CERTIFICATE OF SERVICE

       I, GOODLOE T. LEWIS, attorney for JAMARR SMITH, do hereby certify that I have on

this date electronically filed the foregoing document with the Clerk of Court using the ECF

system which sent notification of such filing to all counsel of record, including:

Robert Mims
Office of the US Attorney
900 Jefferson Avenue
Oxford, MS 38655
rmims@usadoj.gov


       DATED: May 3, 2022.



                                                      /s/ Goodloe T. Lewis           _
                                                      GOODLOE T. LEWIS


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